Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 1 of 20 PageID #:33061




                 Exhibit 3
        Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 2 of 20 PageID #:33062


Samantha Reed

From:                             Elaine Gedman <egedman@wexfordhealth.com>
Sent:                             Monday, August 9, 2021 9:50 AM
To:                               'kelly.d.presley@illinois.gov'; 'steven.Bowman@illinois.gov'
Cc:                               Cheri Laurent; Andy DeVooght; 'Andrew M. Ramage'; Lynnette Haygood; Anna Vozar;
                                  Julie Knechtel
Subject:                          FW: Articles regarding Nursing Shortage and Retention challenges
Attachments:                      2020 NSI National Health Care Retention & RN Staffing Report.pdf; AGING BABY
                                  BOOMER POPULATION 6 21 21.docx; Employers Face Hiring Challenge as Boomers
                                  Retire in Record Numbers 6 21 21 expanded.docx; Even 10k bonus not alleviating
                                  critical nursing shortagwe in Western PA - Becker's Hospital Review 7 6 2021.docx; Even
                                  10k Bonuses aren't Enough - PA.docx; How to Ride the Great Resignation Wave 7 12
                                  21.docx; I quit USAToday 7 26 21.docx; IL General Assembly -Nurse Licensure Compact
                                  5 31 21.pdf; Is There Really a Nursing Shortage in America 5 2021.docx; Job Seekers Are
                                  Gaining Control over Hiring 6 30 21.docx;
                                  NSI_National_Health_Care_Retention_Report.pdf; Nurse shortage is crippling hospitals -
                                  PA.docx; Nurse shortage is crippling hospitals, kkCenters that proved care in Western
                                  PA - Trib Live 7 4 21.docx; Nurse Staffing-How COVID-19 Highlighted an issue that
                                  always existed 3 13 21.pdf; Nursing shortage during COVID-19 argues for multi-state
                                  licenses in Illinois in word 5 12 21.docx; Pittsburgh hospitals suffering from nationwide
                                  nursing shortage 7 6 2021 WPXI News.docx; Pittsburgh hospitals suffering from
                                  nationwide nursing shortage.docx; Traumatized and tired article 2 25 21.docx; US DHHS
                                  Supply and Demand Projections of the Nursing Workforce (2014-2030).pdf; US has
                                  record number of job openings as hospitals face massive shortages 6 8 21.docx;
                                  Nursing Shortage in America 5 2021.docx


Resending as I believe I had incorrect email addresses.

Elaine J. Gedman
Executive Vice President & Chief Administrative Officer
Wexford Health Sources, Inc.

“R.A.I.S.E. the Standard”

From: Elaine Gedman <egedman@wexfordhealth.com>
Sent: Monday, August 9, 2021 10:39 AM
To: 'Kelly.D.Presley@idoc.illinois.gov' <Kelly.D.Presley@idoc.illinois.gov>; 'steve.bowman@illinois.gov'
<steve.bowman@illinois.gov>
Cc: Andy DeVooght <adevooght@loeb.com>; Cheri Laurent <claurent@wexfordhealth.com>; Anna Vozar
<avozar@wexfordhealth.com>; Lynnette Haygood <lhaygood@wexfordhealth.com>; Julie Knechtel
<jknechtel@wexfordhealth.com>; 'Andrew M. Ramage' <aramage@bhslaw.com>
Subject: Articles regarding Nursing Shortage and Retention challenges

Hi Kelly and Dr. Bowman,

As requested, please find attached just some of the article and reports I was able to gather that all discuss the
nationwide nursing shortage and retention challenges. I hope this helps with respect to the upcoming report to the
courts for both Lippert and Rasho.


                                                            1
        Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 3 of 20 PageID #:33063
Elaine J. Gedman
Executive Vice President & Chief Administrative Officer
Wexford Health Sources, Inc.

“R.A.I.S.E. the Standard”




                                                          2
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 4 of 20 PageID #:33064




Even $10K+ bonuses aren't alleviating
'critical' nurse shortage in Western
Pennsylvania
Gabrielle Masson - Monday, July 5th, 2021 Print | Email

Some healthcare leaders are deeming the nursing shortage in Western
Pennsylvania "critical," reports the Pittsburgh Tribune-Review.

The shortage is occurring in a region characterized by a rapidly aging
population and shrinking workforce, and has been only further exacerbated by
the pandemic.

UPMC and Allegheny Health Network, both based in Pittsburgh, had more
than 2,200 openings for registered and licensed nurses posted online last
week, according to the Tribune-Review. UPMC, the state's largest employer,
is offering recruitment bonuses up to $10,000 for registered nurses, while
AHN is offering up to $15,000 for more experienced nurses.

Some personal care homes and assisted living facilities are paying as much
as $50 an hour to fill pressing vacancies for nonlicensed caregivers, said
Margie Zelenak, executive director of the Pennsylvania Assisted Living
Association. At least two personal care homes told her they decided to close
in recent weeks, with one citing an inability to hire help.
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 5 of 20 PageID #:33065




Since May 2020, employment in nursing homes and residential facilities
across the six-county region has dropped by 1,100 workers, according to the
U.S. Bureau of Labor Statistics.

"We are having a horrible time hiring to fill positions," said John Dickson,
president and CEO of Greensburg, Pa.-based Redstone Presbyterian
SeniorCare. Even before the pandemic, Redstone worked through the
Healthcare Council of Western Pennsylvania to bring in nurses from the
Philippines.

Greensburg-based Excela Health, which operates three hospitals and multiple
outpatient facilities, plans to implement an international contract for nurses
this fall, a spokesperson told the Tribune-Review.

In 2018, AHN recruited 150 registered nurses from the Philippines and
Caribbean islands, which have similar professional standards. Claire
Zangerle, DNP, MSN, chief nurse executive at AHN, said the program, which
has the nurses come on three-year work visas, has been a success with a
high retention rate. However, the system is still short about 300 nurses, Dr.
Zangerle told WPXI-TV.
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 6 of 20 PageID #:33066




          How to Ride the Great
           Resignation Wave
Experts warn of a surge of voluntary employee departures ahead.
              How can HR professionals prepare?
                                By Kathryn TylerJune 2, 2021
LIKESAVEPRINTEMAIL
REUSE PERMISSIONS

Over the past year, three of the nine teachers at the Friends Preschool and
Kindergarten in Milford, Mich., left their jobs. One retired, and two quit because of
COVID-19-related health concerns for themselves or a family member. A fourth needed
extensive time off to attend to her children.
“Preschools and child care centers struggle with staff turnover during the best of times,”
says Tammy Rittmueller, the school’s director. “The pandemic has only heightened this
dilemma.”
See’s Candies, based in South San Francisco, Calif., shut down all operations and
furloughed many of its 5,000 employees when the pandemic hit in early 2020.

“After the furlough, the skeleton crew that remained worked diligently to reopen as soon
as we could safely do so and start bringing our furloughed employees back,” says Chad
Paulson, senior vice president of HR at the confectionary company. But, he explains,
“there was a lot of uncertainty regarding the length of the furlough, and many of our
employees were able to find alternative employment prior to being called back.”

Organizations large and small across the country are reporting that employee turnover
rates are already reaching record highs this year. Labor analysts say they aren’t
surprised, with many predicting a giant wave of voluntary employee departures caused
by a pent-up demand for new jobs.
“Now that the vaccines are in motion, employers should be prepared for a turnover
tsunami,” warns Melissa Jezior, president and CEO of Eagle Hill Consulting, a
management consultancy in Washington, D.C.
About 1 in 4 U.S. employees plan to leave their employer as the COVID-19 pandemic
subsides, according to a November 2020 survey conducted by Ipsos on behalf of Eagle
Hill.
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 7 of 20 PageID #:33067




A separate February 2021 report found that 52 percent of 2,000 employees surveyed in
the U.S. and Canada plan to look for a new job in 2021, an increase from 35 percent a
year earlier. That’s according to Engagement and Retention Report, which was
released by Achievers Workforce Institute, the research arm of Toronto-based
employee recognition software company Achievers.

“You’re not going to walk away from this unscathed,” Jezior cautions HR professionals.


The Exodus

Employees are most likely to leave a current job for one with better compensation and
benefits or better work/life balance, according to the Achievers report. Burnout was cited
by a majority of the 1,000 workers who said they plan to quit their job this year,
according to the Eagle Hill survey.

“Employees with children at home remain a flight risk at this point,” says Cara Silletto,
author of Staying Power: Why Your Employees Leave and How to Keep Them
Longer (Silver Tree Publishing, 2018), who adds that workers on the lower end of the
pay scale also are more likely to seek greener pastures.
“In general, the lower the wages, the faster the person can find a replacement job,”
Silletto says. She is also president and chief retention officer at Magnet Culture, a
retention consultancy in Louisville, Ky. “The higher skilled [the] people are, the harder it
is for them to change industries.” She defines lower-wage workers as those earning less
than $18 an hour.


Weathering the Storm

Turnover costs organizations in both time and money to recruit and train new
employees—not to mention the loss of institutional knowledge and reduction in
productivity while positions remain vacant.

To help retain employees as the economy improves, HR professionals can take steps
now to reduce the predicted voluntary departures.
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 8 of 20 PageID #:33068




“Identify top performers you don’t want
to lose,” Jezior recommends.
“Empower managers to sit down with
employees every other week” to
conduct stay interviews designed to
make sure workers are satisfied. “Once
people make the decision to leave and
start looking and applying for jobs, your
chance of keeping them is much lower.
You’ve already lost the battle.”
Other recommendations for
strengthening your employee retention
efforts:
Address employee concerns. Listen
to employees’ challenges and look for
solutions.
Flexibility has been key at
Renaissance Academy, a home-school and hybrid educational program with 35
employees in Farmington Hills, Mich. A new instructor gave notice a couple of weeks
after she was hired because she was uncertain whether her own children would be
learning from home or in person.
“After some conversation, we swapped a class that was a little out of her comfort zone
for an already developed course,” recalls Heidi Pair, the school’s assistant director.
“After feeling supported and encouraged, the new instructor stayed and has become a
valuable part of our team.”

Present realistic job descriptions. Turnover tends to be highest among new hires—
often because the job doesn’t match their initial expectations. Once they experience
what they perceive to be the downsides of a job, they quit. The solution is to expose
potential candidates to the worst parts of the job so they know what they will be doing
before they accept.

Is the factory hot and noisy? Walk potential candidates through it during the hottest and
loudest part of the day. Is it difficult to take time off? Make that clear to applicants during
the first interview. Employers tend to rush to fill a job with the first decent candidate,
which results in a poor fit and a need to fill the position repeatedly.
“Look at your hiring processes,” says Ginia Chapline, chief operations officer at Texas
Trust Credit Union, which has 300 employees and is based in Arlington, Texas. “Hire for
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 9 of 20 PageID #:33069




culture, not just skills. Make sure the person is a good fit for the organization. Have a
successful onboarding process that eases new hires into their new work environment.”
Establish strong onboarding, mentoring and advancement opportunities. New
hires have weak ties to the organization, so it’s easier for them to leave. To retain them,
help them make connections as quickly as possible, Silletto advises.
“I see two buckets of workers today,” she says. “One group is called the ‘trees.’ Like
oaks, they are deeply rooted in the organization. They aren’t leaving until retirement or
they get poached with a better offer. The other group is the ‘revolving door.’ These are
primarily new hires, and they’re always a flight risk.”

Her goal isn’t to convert the revolving doors to trees, but to lengthen employees’ tenure
through strong onboarding, mentoring programs and promotions. For example, some
people once spent their entire career as a bank teller. Now, that job is a steppingstone.
By adding levels to that position, employees feel they are advancing and are less likely
to jump ship.

“The flat hierarchy of the ’90s is the opposite of what today’s new workforce wants,”
Silletto says. “They want the assistant manager, manager and senior manager positions
to give themselves a sense of advancement within one role.”

Use stay interviews, not exit interviews. Exit interviews provide insights on why
employees are leaving. The idea is that once an employer knows what factors are
contributing to employee departures, it can prevent an exodus.

But Mohammad Qais Momand, vice president of Dunya University in Kabul,
Afghanistan, doesn’t want to wait for an exit interview to find out employees aren’t
satisfied. “Why not have such interviews during the employee’s career?” he asks. That
way, the employer can make improvements.
When Rittmueller took over as Friends’ preschool director, replacing someone who had
been in the position for 23 years, she used stay interviews to find out how the staff felt
about changes.
“I have been using this information to guide me through the rest of the present school
year and in making plans for the next,” she says. “In a small business such as our
school, it’s important the staff buy into the mission being set, to be part of the planning,
to have a voice. It’s my hope this involvement will keep my staff engaged and wanting to
stay.”
Offer accommodations. Silletto suggests focusing on those with young children at
home or who have aging parents that need more care.
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 10 of 20 PageID #:33070




When one of her employees had two children, ages 6 and 9, at home for weeks without
anyone to help, Silletto granted extended paid time off and flexible hours so the
employee could work whatever time of day she was able.

“I rerouted some of the more time-sensitive items to other staff who could be more
accessible for our clients,” she says. “Some employers might claim they can’t be that
flexible, but she is the most loyal employee because I helped her through that hard time.
It builds loyalty when you truly take care of your people and don’t apply a one-size-fits-
all strategy.”

Communicate frequently. The best way to reduce turnover is to understand why
employees stay and why they leave.
“The key is constantly getting input from the employees, whether it’s direct
communications between managers or HR, or pulse checks, or training programs,”
Paulson says. “The No. 1 priority should be to understand the employee’s perspective
and then to translate how it matches the employer’s goals.”

Be accessible. “Make it easy for employees to communicate with HR,” Chapline says.
“Our HR team is developing a new text platform to communicate with employees in a
quicker, more mobile way. We’ve also made it easier for employees to reach HR by
phone and resolve an issue on the first call.”


Educating Managers

HR can help by training managers to communicate clearly, following through on
commitments and being honest about issues that impact employees.
“If the employee doesn’t believe you are willing or able to resolve the issue, they won’t
share,” Pair says. “Also be willing to ask, ‘How can I help?’ and bring them into the
problem-solving toward a solution.”
Today’s employees don’t expect to work for the same company their entire career, so
retention strategies need to adapt accordingly.

“We need to focus on how to extend someone’s tenure as long as possible and make it
a great experience so they are more likely to refer their friends, come back to
us at some point or become a client,” Jezior says. “It’s not about reducing turnover, but
rather about elongating tenure.”

Kathryn Tyler is a freelance writer and former HR generalist and trainer in Wixom, Mich.
Illustrations by Yuta Onoda
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 11 of 20 PageID #:33071




Early Warning Signs
To maintain a stable workforce, HR professionals should analyze data available to them
to help identify employees who are likely to leave. Here are some early warning signs
that indicate employees may have one foot out the door:

Major life changes. “Keep an eye on who is graduating with an MBA or who is starting
a family,” says Melissa Jezior, president and CEO of Eagle Hill Consulting, a
management consultancy. “Big life changes often drive turnover.”

While such personal information can be hard to gather, developing good relationships
and trust with employees can help, says Chad Paulson, senior vice president of HR at
See’s Candies.

Missed promotions. Employees who are disappointed about being passed over for
promotions might begin to look elsewhere for opportunities to advance. Keep a list of
workers who applied for promotions, and check in with those who weren’t selected to
ensure they feel appreciated and to help them better prepare for the next opening.
High department turnover. Look at turnover data by department, division and
manager to pinpoint where higher turnover rates exist. The employees in those divisions
are at risk of leaving if you don’t quickly identify and eliminate the problem.
Paulson made a surprising discovery when he investigated high turnover in See’s
Candies plants a couple of years ago. “We weren’t conducting an annual review of the
competitive market and hadn’t realized our pay had ceased to be sufficiently
competitive,” he says. “By simply analyzing the market and providing competitive
compensation, we were able to stem the tide and enhance our recruitment and retention
efforts.”

Reduced communication. Employees who fail to promptly answer calls or e-mails or
who miss deadlines might be considering a move.
“A quiet employee can just as easily be a struggling employee as a satisfied employee,”
says Heidi Pair, assistant director of Renaissance Academy, a home-school and hybrid
educational program. “Our instructional staff doesn’t meet in person during the summer
months but uses that time to plan for their courses and build the virtual component for
each course. For us, an early warning sign is minimal or no communication and little
evidence of planning.”

Absenteeism. “Taking time off in the middle of the day shows employees might be
doing interviews,” says Lance Anderson, SHRM-SCP, an HR and recruiting consultant
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 12 of 20 PageID #:33072




at Anderson and Co. in Grand Prairie, Texas. Employees who are complaining, being
less productive or job hunting online while at work might be considering a job change.
Don’t wait until they quit, Jezior advises. “Find out who you think is most at risk and start
putting in some preventive measures today,” she says. “Who are your problem
managers? Deal with them today.” —K.T.
RETENTION WORKFORCE PLANNING
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 13 of 20 PageID #:33073




Nurse shortage is crippling hospitals,
centers that provide care in Western Pa.

DEB ERDLEY | Sunday, July 4, 2021 12:01 a.m.




                                                                                 METRO CREATIVE
Western Pennsylvania, like the entire country, is facing a shortage of nurses.


EMAIL NEWSLETTERS
TribLIVE's Daily and Weekly email newsletters deliver the news you want and information
you need, right to your inbox.
A long-predicted shortage across the continuum of nursing and direct care workers has
come home to roost in the coronavirus pandemic. Shortages are rippling across the
country, fueled in part, experts say, by pandemic trauma and burnout.

The issue is critical in Western Pennsylvania.
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 14 of 20 PageID #:33074




In a region characterized by a rapidly graying population and a shrinking workforce, “Help
Wanted” signs are popping up at private home care agencies, personal care homes, assisted
living and nursing homes, community hospitals and sprawling academic and tertiary care
hospitals.

Like the fast food industry, some hospitals desperate to fill nursing vacancies are dangling
signing bonuses — as much as $15,000 for experienced registered nurses at UPMC and
AHN hospitals and outpatient facilities.

At the most basic level, staffing agencies that provide nonlicensed short-term care workers
who help people remain in their homes and avoid moving to a personal care or assisted
living are simply turning away calls for help.

“We are turning away new clients by the drove. We cannot handle anywhere near the care
we’d like to provide because we cannot hire enough people,” said Krista Braha, human
resources manager for Carol Trent Senior Helpers in Greensburg.

Although Senior Helpers offers bonuses to employees who refer new workers, Braha said
they can’t keep up with demand. Offering wages of $11 to $12.50 an hour with no health
insurance, they are competing with gas stations, restaurants and retail stores clamoring for
workers.

One level up, at personal care homes and assisted living facilities that house nearly 45,000
people across the state, some facilities are paying as much as $50 an hour to fill pressing
vacancies for nonlicensed caregivers, said Margie Zelenak, executive director of the
Pennsylvania Assisted Living Association.

At least two personal care homes told her they decided to close in recent weeks, citing an
aging owner and an inability to hire help.

Zelenak said her group hopes the situation will improve this fall when schools reopen. That
could allow some who left the field to care for children doing remote learning at home to
return to work.

But that won’t resolve long-term shortages that have long been forecast.

“It is a problem, and it is going to increase as our senior population continues to increase, “
Zelenak said.

The shrinking workforce is starkly apparent in monthly labor force reports.
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 15 of 20 PageID #:33075




A report from the U.S. Bureau of Labor Statistics counted employment in nursing homes
and residential facilities across the six-county region down by 1,100 workers since May
2020.

Experts say the pandemic exacerbated a difficult situation that existed before covid-19
began taking its toll.

Skilled Nursing, a journal that follows the nursing home industry, cited a recent analysis of
federal data from 15,000 nursing homes across the country that found an average turnover
rate of 140% among registered nurses (RNs), 114.1% among licensed practical nurses
(LPNs) and 129.1% among certified nursing assistants (CNAs).

Officials are adapting to the new normal at Redstone Highlands, which serves 1,000 elderly
and disabled residents through home care, personal care and skilled care facilities in
Greensburg, North Huntingdon and Murrysville.

“We are having a horrible time hiring to fill positions,” President and CEO John Dickson
said.

Redstone created rapid-response positions within its staffing office — jobs that do not
include benefits but which pay more and require staffers to work weekends and evenings.
Even before the pandemic, Redstone worked through the Healthcare Council of Western
Pennsylvania to bring in three registered nurses from the Philippines.

A spokeswoman for Excela, which operates three hospitals and multiple outpatient
facilities across Westmoreland County, said recruitment and retention are at the top of the
list across all positions. Excela, which provides clinical training rotations to several college
nursing programs, is offering to hire students into support positions such as transport and
patient safety associate. The regional health care system also is tapping agencies to help fill
vacancies for registered nurses and respiratory therapists.

Following the lead of Redstone, Excela plans to implement an international contract for
registered nurses this fall, system spokeswoman Robin Jennings said.

UPMC and AHN advertised more than 2,200 openings for registered and licensed nurses
online last week. UPMC, the largest employer in the state, is dangling recruitment bonuses
of up to $10,000 for registered nurses. AHN is offering a signing bonus of $10,000 for
registered nurses with a year of experience and up to $15,000 for more experienced
nurses.

Jane Montgomery, chief operating officer for the Healthcare Council of
Western Pennsylvania, said the pandemic created a whole new level of staffing problems in
the region’s hospitals and skilled care nursing facilities.
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 16 of 20 PageID #:33076




In addition to salary competition from other industries, other challenges have affected the
supply of registered and licensed nurses.

“You had people leaving the workforce because they were worried about getting sick and
taking something home. And we had nurses leaving to work for agencies that were paying
higher rates to staff facilities in areas where there were covid outbreaks,” Montgomery
said. “And we’ve known our nursing population was aging. This may have pushed some of
them into retirement earlier than they planned. Even before the pandemic, you had
organizations that went overseas and brought in staff. With the pandemic, they couldn’t do
that. I think it is probably a combination of all of those things.”

Claire Zangerle, chief nurse executive at AHN, agreed.

“This is a perfect storm with 10 things that has hit the labor market all at once,” Zangerle
said.

“During the pandemic when there were hot spots due to excessive virus outbreaks, you saw
nurses leaving and going to work for travel agencies to go and fill in for hospitals that were
in worse shape than us,” Zangerle said. “It was hard for us to be angry about that. If a young
nurse has the ability to do that and go and pay off school loans, then good for them. When
they want to come back, we’ll welcome them. And we’re seeing nurses in those traveling
positions start to come back home.”

Still, she allows that filling the void – AHN lists 590 nursing positions on its website, some
of which Zangerle termed aspirational — is going to be difficult.

In 2018, AHN looked to the Philippines and Caribbean islands, which have similar
professional standards, to recruit 150 registered nurses on three-year work visas. Zangerle
said that program has been a success with a high retention rate.

AHN nurse recruiters are promoting the relatively low cost of living in Western
Pennsylvania to potential job candidates from Eastern Pennsylvania, Ohio and New York.

“A lot of our work is focused on retaining the talent we have to stay at the bedside,”
Zangerle said. “But our nurse recruitment team, their tongues are out. They are panting.”

Indeed, staff shortages are driving conversations across the spectrum in the health care
industry.

“Safe staffing and taking care of our patients is the most important thing to us,” she said.
“This is a super-important topic to address. Hearing about it might motivate somebody to
say, ‘Hey, my daughter or son or granddaughter should consider a career in health care.’
The workforce in health care across the nation is literally in crisis.”
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 17 of 20 PageID #:33077




 •
 •
 •
 •
 •
 •
 •

Deb Erdley is a Tribune-Review staff writer. You can contact Deb at 724-850-
1209, derdley@triblive.com or via Twitter .
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 18 of 20 PageID #:33078




Pittsburgh hospitals suffering from
nationwide nursing shortage
July 06, 2021 at 10:22 am EDTBy Jillian Hartmann, WPXI-TV

PITTSBURGH — There’s a nationwide nursing shortage, and Pittsburgh hospitals are
suffering.

Chief Nursing Officer of Allegheny Health Network Claire Zangerle tells Channel 11 that the
staffing crisis started before the pandemic but that covid made things worse. For one thing,
many nurses retired.

“It has become an issue with AHN in the sense that we are no different than any other
health system across the country,” explained Zangerle. “We’ve seen a wave of a certain age
group of our nurses that its time to retire and honestly the pandemic pushed them to the
retirement maybe a little bit sooner that what they thought about.”

Also, during the pandemic, more nurses in direct patient care took other nursing jobs like
education, research or management.



TRENDING NOW:

• Southwestern PA will not face a Delta variant crisis, local doctor says
• Applying for unemployment? Pennsylvania’s work search requirements close to starting back
up
• Code Orange Air Quality Alert in effect for parts of Pennsylvania
• VIDEO: Pittsburgh area hospitals suffering from nationwide nursing shortage
• DOWNLOAD the Channel 11 News app for breaking news alerts
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 19 of 20 PageID #:33079




SPONSORED CONTENT

High-risk pregnancies can lead to healthy babies and happy
moms
By UPMC

“We don’t have enough nurses being produced by the nursing schools because we don’t
have enough instructors in the nursing schools to be able to get those students through
their curriculum through the program to the bedside,” explained Zangerle.

Right now, AHN is in need of as many as 300 nurses. Zangerle said that bedside nursing is
where they are understaffed, so they are offering incentives, including paying for
certifications, offering a sign-on bonus for experienced nurses and incentive pay beyond
standard overtime.

In the meantime, she says the short-term solutions include employing agency and
international nurses to help reduce the workload for current nurses.

“Long term we want people to come into the nursing profession so we want to go to the
middle schools and high schools and talk to the students about the value of nursing and
what a career it is that is something we started and had to put to the side because of the
pandemic,” Zangerle explained.
Case: 1:10-cv-04603 Document #: 1942-3 Filed: 06/04/25 Page 20 of 20 PageID #:33080




AHN also has a special refresher program offered to former nurses looking to return to
practice.

Channel 11 also reached out to UPMC. A spokesperson said they are opening their fifth in-
house nursing school in August to help address this shortage.
